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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )             8:04CR164-1
                                               )
                    Plaintiff,                 )
      vs.                                      )             ORDER
                                               )
OCTAVIO BARRON,                                )
                                               )
                    Defendant.                 )



      Pursuant to F.R.A.P. 24(a), and construing the papers liberally,

      IT IS ORDERED that:

      (1)    the appeal filed by Defendant appears to be taken in good faith;

       (2) Defendant’s motion for leave to proceed in forma pauperis on appeal
(filing 253) is granted;

       (3) the court reporter is directed to prepare and file an original transcript of the
proceedings in this matter, with the expense thereof to be paid by the United States
pursuant to 28 U.S.C. § 753(f), with the understanding that I certify that the appeal is not
frivolous and apparently presents a substantial question; and

      (4) the clerk is directed to provide a copy of this order to the United States
Court of Appeals for the Eighth Circuit.



      DATED: April 19, 2005.                   BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
